Case: 1:18-cv-06067 Document #: 50 Filed: 02/07/19 Page 1 of 2 PagelD #:3772

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LVMH SWISS MANUFACTURES SA and
HUBLOT SA, Case No. 18-cv-06067
Plaintiffs, Judge Charles P. Kocoras
V.

Magistrate Judge M. David Weisman
XIONGAI LONG, et al.,

Defendants.

 

 

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on December 18, 2018 [46], in
favor of Plaintiffs LVMH Swiss Manufactures SA (“Tag Heuer”) and Hublot SA (“Hublot”)
(together, “Plaintiffs”), and against the Defendants Identified in Schedule A in the amount of two
million dollars ($2,000,000) per Defaulting Defendant, and Plaintiffs acknowledge payment of
an agreed upon damages amount, costs, and interest and desire to release this judgment and

hereby fully and completely satisfy the same as to the following Defendants:

 

 

 

 

 

 

Defendant Name Line No.
FORSINING Official Store 81
GMT 84
Mypleasure Watchband Store 95
Nicebuy Watchband Store 97
Udemand Tech Limited 113

 

 

 

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
Case: 1:18-cv-06067 Document #: 50 Filed: 02/07/19 Page 2 of 2 PagelD #:3773

Dated this 7th day of February 2019.

  

LAA |
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Counsel for Plaintiffs
LVMH Swiss Manufactures SA and Hublot SA

Subscribed and sworn to me by Allyson M. Martin, on this 7th day of February 2019.

Given under by hand and notarial seal.

ALYSSA GUYNN
Official Seal

Notary Public - State of Hlinois
My Commission Expires Nov 16, 2022

 

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Notary Public

State of Illinois

County of Cook

 
